AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 1
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                                            United States District Court
                                                  Eastern District of Michigan
              United States of America                              JUDGMENT IN A CRIMINAL CASE
                         V.
          THADDEUS LEWIS MCMICHAEL                                  Case Number: 13CR20443-1
                                                                    USM Number: 46844-039

                                                                    Lisa L. Dwyer
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1 of the Information.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                      Offense Ended       Count
18 U.S.C. 2252A(a)(2)               Receipt of Child Pornography                           2/17/2012           1
and 2252A(b)(1)

  The defendant is sentenced as provided in pages 2 through 5 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984
    Count(s) 2 is dismissed on the motion of the United States after a plea of not guilty.

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    1/16/2014
                                                                    Date of Imposition of Judgment




                                                                    s/Denise Page Hood
                                                                   _________________________________________
                                                                   United States District Judge



                                                                    January 31, 2014
                                                                    Date Signed
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                                                    IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 72
months

The court makes the following recommendations to the Bureau of Prisons: The defendant be designated to a facility with sex
offender and mental health treatment programs.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prison: before 2 p.m. to the
designated institution on March 4, 2014.




                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                              _________________________________________
                                                               United States Marshal


                                                              _________________________________________
                                                               Deputy United States Marshal
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        Sheet 3- Supervised Release
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                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
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                                           SPECIAL CONDITIONS OF SUPERVISION

  1. The defendant shall participate in a program approved by the probation department for mental health counseling,
  including anger management, if deemed necessary.

  2. The defendant shall submit to a psychological/psychiatric evaluation as directed by the probation officer, if necessary.

  3. The defendant shall take all medications as prescribed by a physician whose care he/she is under, including a
  psychiatrist, in the dosages and at the times proposed. If the defendant is prescribed a medication, he/she shall take it,
  and the defendant shall not discontinue medications against medical advice.

  4. The defendant shall enroll and participate in a Cognitive Behavioral Therapy program (CBT) as approved by the
  probation officer, if necessary.

  5. The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.
  16901, et seq.) as directed by the probation officer, the United States Bureau of Prisons, or any state sex offender
  registration agency in which he resides, works, is a student, or was convicted of a qualifying offense.

  6. The defendant shall successfully complete any sex offender diagnostic evaluations, treatment/counseling programs
  and polygraph examinations as directed by the probation officer. Reports pertaining to sex offender assessments,
  treatment, and polygraph examinations shall be provided to the probation officer. As directed by the Court, the
  defendant shall pay all or part of the cost of the diagnostic evaluations, treatment or counseling programs, and
  polygraph examinations based upon their ability to pay.

  7. The defendant shall not associate with minor children under the age of eighteen (18), except in the presence of a
  responsible adult who is aware of the nature of your background and current offense, and who has been approved by
  the probation officer. The defendant shall not frequent places where children congregate on a regular basis (such as,
  but not limited to, school grounds, playgrounds, child toy stores, video arcades, etc.).

  8. The defendant shall notify anyone he dates or marries with a minor child under the age of eighteen (18) of his
  conviction.

  9. The defendant shall not purchase, sell, view, or possess images, in any form of media or live venue that depict
  pornography, sexually explicit conduct, child erotica, or child nudity. The defendant shall not patronize any place
  where such material or entertainment is available.

  10. The defendant shall provide the probation officer with accurate information about all computer systems
  (hardware/software), all passwords, and Internet Service Provider(s), that the defendant has potential and/or
  reasonable access to and abide by all rules of the United States Probation Department's Computer Monitoring
  Program. The defendant shall only access a computer approved by the United States Probation Department. The
  defendant shall consent to the probation officer conducting periodic, unannounced examinations of all computer
  systems, which may include computer monitoring software at the defendant's expense. For the purpose of accounting
  for all computers, hardware, software and accessories, the defendant shall submit his/her person, residence, computer
  and/or vehicle to a search conducted by the United States Probation Department at a reasonable time and manner.
  You shall inform any other residents that the premises and your computer may be subject to a search pursuant to this
  condition. The defendant shall provide the probation officer with access to any requested financial information
  including billing records (telephone, cable, internet, satellite, etc.).

  11. The defendant shall only access the Internet through one Internet-capable device. All other Internet capable
  devices, such as cellular phones and gaming consoles, shall not have the Internet connected. The defendant is
  prohibited from accessing any online computer service at any location including, but not limited to public libraries,
  Internet cafes, and places of employment or education without the permission of the probation officer.
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  12. The defendant shall have employment pre-approved by the probation department. If the defendant's employment
  requires the use of a computer, the defendant shall notify the employer of the nature of his conviction and this
  notification must be confirmed by the probation officer.
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        Sheet 5 - Criminal Monetary Penalties
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                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 100.00                        $ 0.00                               $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
